
Callahan, J.
(concurring). While I am of the opinion that the evidence failed to establish that Restaurants &amp; Patisseries Longchamps, Inc. (R &amp; P L) was a wholesaler of alcoholic beverages within the meaning of the Alcoholic Beverage Control Law (§ 3, subds. 34, 35; §§ 100, 101, 101-a), or that there were any sales at wholesale within the meaning of subdivision 1 of section 100, or purchases or receipts of liquor within the meaning of subdivision 3-b of section 102 of said law in the transactions between R &amp; P L and its wholly owned subsidiaries, nevertheless, I concur in annulling the determination and ordering a new trial.
